        Case 3:23-cr-00149-MEM Document 44 Filed 06/29/23 Page 1 of 1

                        UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                  :           CR. NO. 3:23-CR-149
                                          :
vs.                                       :
                                          :           Judge Mannion
(1) NICHOLAS DOMBEK                       :
(2) DAMIEN BOLAND                         :
(3) ALFRED ATSUS and                      :
(4) JOSEPH ATSUS                          :
                                          :
            Defendants                    :
___________________________________________

                               ENTRY OF APPEARANCE


      To the Clerk o Courts:



      Kindly enter the appearance of Ernest D. Preate, Jr, Esquire on behalf of NICHOLAS

DOMBEK, only, in the above captioned matter.




                                                      Ernest D. Preate, Jr. Esquire
                                                      Ernest D. Preate, Jr., Esquire
                                                      120 South State Street
                                                      The Tennant Building
                                                      Clarks Summit, PA 18411
                                                      570.558.5970 Telephone
                                                      epreate@comcast.net
                                                      Bard Id: 08433
